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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS


                                  )
DONNA GAVIN                       )
                                  )
     Plaintiff,                   )
                                  )     C. A. No. 1:18-cv-10819-LTS
     v.                           )
                                  )
CITY OF BOSTON and MARK           )
HAYES,                            )
                                  )
     Defendants.                  )
                                  )

             PLAINTIFF DONNA GAVIN’S OPPOSITION TO
     DEFENDANT MARK HAYES’S MOTION FOR SUMMARY JUDGMENT
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                                    I.      INTRODUCTION

       Plaintiff Donna Gavin (“Gavin”) opposes Defendant Mark Hayes’ (“Hayes”) Motion for

Summary Judgment (“Motion”) (Docket No. 110). The case against Hayes for discrimination and

retaliation could not be clearer. The same is true for the City of Boston (“City”), which has not

moved for summary judgment. Hayes avoids one of the central claims for discrimination and

many of the ugly facts against him by incorrectly arguing that Gavin has only asserted retaliation

claims against him and then selectively and impermissibly choosing the later of her complaints to

minimize his retaliatory conduct. The reality is Hayes discriminated against Gavin and inflicted a

hostile work environment on her from the moment she was transferred as Lieutenant to the Family

Justice Center (“FJC”) in charge of two units there – the Human Trafficking Unit (“HTU”) and

the Crimes Against Children Unit (“CACU”). Hayes did not let up in his harassment of Gavin

until, after Hayes’s repeated requests, she was transferred out of the FJC to a dead-end position at

the Boston Police Academy (“Academy”). This Court should deny Hayes’s Motion.

                            II.     BRIEF STATEMENT OF FACTS1

       In May 2016, Gavin rose to the rank of Lieutenant (“Lt.”) after thirty years with the Boston

Police Department (“BPD”) – and shortly thereafter earned the rank of Lieutenant Detective (“Lt.

Det.”). SOF, ¶ 25. Upon her promotion, she encountered the buzz-saw of Hayes’s discrimination

and hostility toward her as a senior female officer. For the majority of her career – until her




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  A fuller recitation of the relevant facts is included in Plaintiff’s Responses to Hayes’s Statement
of Undisputed Material Facts in Support of his Motion for Summary Judgment and in Gavin’s
Statement of Additional Relevant Facts. Gavin’s responses and additional facts are referred to as
“SOF.” In addition, concurrently with filing of this opposition, Gavin is filing a motion to file an
unredacted copy of her opposition under seal as well as a motion to file Exhibits G, H, S, U, & V
to the SOF under seal as the City has designated those documents, or portions thereof, as
confidential. Gavin has redacted references to those exhibits in this opposition, but also intends to
file an opposition to challenge the City’s designation.
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retaliatory transfer to the Academy in March 2019 – Gavin investigated crimes as a detective or

supervising detective in the Bureau of Investigative Services (“BIS”). SOF, ¶ 27. She is a

recognized expert in the field of human trafficking investigations and served as Sergeant Detective

(“Sgt. Det.”) in charge of BPD’s HTU from 2009 to 2015. SOF, ¶ 28. Given her expertise, she

was appointed the co-coordinator for the City’s initiative to combat human trafficking, known as

City Empowered Against Sexual Exploitation (“CEASE”) for which BPD was awarded grant

money. SOF, ¶ 29. She excelled in her work and had no performance issues until she was

promoted to Lieutenant under Hayes. SOF, ¶ 30.

       When she was promoted to Lieutenant and appointed to oversee both the HTU and CACU,

she reported to Hayes who, as Captain Detective, supervised the Family Justice Center. SOF, ¶

31. Lt. Det. George Juliano (“Juliano”) and Lt. Det. Mark Harrington (“Harrington”) oversaw the

other units in the FJC -- the Sexual Assault Unit (“SAU”) and the Domestic Violence Unit

(“DVU”), and also reported to Hayes. SOF, ¶ 32. Upon her arrival, Hayes treated her dismissively,

announcing that her position had been “created by City Hall,” and he let it be known that he

considered City Hall involvement in police affairs as a negative. SOF, ¶ 33. He did not welcome

Gavin or try to treat her with the same respect as the male Lt. Dets. at the FJC. SOF, ¶¶ 34-41.

Hayes forced Gavin to share a cubicle space with her direct subordinates, Sgt. Dets. Miller and

Lembo, even though every Lt. Det. in the entire BPD has a private office. SOF, ¶ 34. Hayes left

her for over a year in that cramped cubicle. SOF, ¶¶ 35 & 42. When Gavin requested a private

office, he told her the position did not come with an office and falsely informed her that it was

cost-prohibitive for her to have one. SOF, ¶ 35.

       From the moment she arrived as Lt. at the FJC, Hayes treated Gavin differently from the

male Lt. Dets. in other ways too. SOF, ¶ 36. He hyper-scrutinized and micromanaged her unit,



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criticized her in front of her subordinates, denigrated her in emails and meetings in the presence

of her male colleagues and direct reports, controlled the staffing of her units, ran case review

meetings for her units, and interfered in her management of her detectives. SOF, ¶ 36. Shortly

after she assumed her position, he began keeping a private log on her and informed the other male

Lt. Dets. and Sgt. Det. Miller that he was secretly monitoring her activities. SOF, ¶ 37. Hayes did

not subject his male Lt. Dets. to any of this hostile and harassing treatment.2 SOF, ¶ 41.

       After nearly a year of mistreatment, on March 3, 2017, Gavin complained to Hayes that he

was discriminating against her on the basis of her gender, and she complained to BPD’s union –

thus engaging in protected activity.3 SOF, ¶ 42. After she engaged in protected activity, Hayes

then emailed Gavin, copying her subordinates, criticizing her for seeking an office space

comparable to the ones held by the male Lt. Dets., and taunting her that she should file with the

Massachusetts Commission Against Discrimination (“MCAD”). SOF, ¶ 44. Hayes also began a

secret audit of the HTU’s files. He told no one in the HTU other than Gavin’s then immediate

subordinate, Sgt. Det. Kathleen Doris (“Doris”), who kept the secret.     SOF, ¶ 45. When Gavin

eventually discovered that Hayes was surreptitiously entering her office and removing files, she

realized that his campaign of harassment against her was intensifying following her first complaint.

SOF, ¶ 46. Shortly afterward, on April 24, 2017, she submitted a complaint to Superintendent




2
   Hayes also directed Gavin, who is a recognized expert in policing human trafficking, to take
directives from a much junior male detective who had zero training in investigating human
trafficking or other sexual assault crimes. SOF, ¶ 39. Hayes also repeatedly and publicly blamed
Gavin for temporarily halting the transfers of two detectives, despite having been told by his
supervisor that she had nothing to do with the delayed transfers. SOF, ¶ 40.
3
   In fact, when Gavin raised this complaint, Hayes considered that Gavin was somehow
psychologically unfit to be a police officer, which he recorded in the private log he was keeping
on her. SOF, ¶ 43.
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(“Supt.”) Gregory Long (“Long”) pursuant to Rule 114 which prohibits harassment and

discrimination at the BPD – her second protected activity. Id.

       On or about May 1, 2017, Hayes arranged for some of Gavin’s subordinates to participate

in a human trafficking sting operation and to hide their involvement from her. SOF, ¶ 48. At

about the same time, Hayes handed Gavin a 17-page criticism of the HTU files, even though Hayes

had required Gavin and HTU detectives to complete a review of 2 1/4 years of cases and a recent

review with Hayes had gone well, which Hayes himself acknowledged at the time. SOF, ¶ 49. On

or about May 10, 2017, Hayes directed Sgt. Det. Thomas Lembo, one of Gavin’s subordinates in

the CACU, to write a report critical of Gavin concerning an event that had allegedly occurred two

months earlier in March. See SOF, ¶ 50. On May 16, 2017, Hayes filed a 45-page Internal Affairs

(“IA”) complaint against Gavin in which he levelled the most extreme and false allegations against

her and demanded that she be transferred out of the FJC and stripped of her detective rating.4 SOF,

¶¶ 51-52. This complaint consisted of the illegal log Hayes had been keeping on Gavin.5 SOF, ¶

51. On May 18, 2017, Hayes along with Lt. Det. Juliano, Supt. Francis Mancini (“Mancini”) and

others including Sgt. Det. Richard Dahill of IA, stormed the HTU while Gavin was not present

and removed files, which alarmed HTU personnel who did not know some of the officers, and a

false rumor spread of an FBI investigation. SOF, ¶ 53.

       On May 23, 2017, Hayes violated BPD Rule 114 and informed Gavin’s subordinates that

she had filed a discrimination and harassment complaint against him and encouraged them to




4
  A detective rating is obtained after a six-month probationary period at a new rank (e.g., Det.,
Sgt., Lt., Capt.) in the Bureau of Investigative Services. See SOF, pg. 14, n. 2.
5
 It is illegal to keep a secret personnel record on an employee outside of their personnel file. See
M.G.L. c. 149, § 52C.


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circumvent her in the chain of command.6 SOF, ¶ 54. On May 23, 2017, Gavin filed a complaint

of discrimination with the MCAD. SOF, ¶ 10. Hayes thereafter continued to subject Gavin to a

hostile work environment including: (a) encouraging her subordinates to circumvent her; (b)

freezing her out of BPD operations; (c) encouraging her subordinate Sgt. Det. Doris (“Doris”) to

write a complaint against her, and then personally causing it to be filed with Internal Affairs (“IA”);

(d) making it known to others within the BPD that he “had her”; and (e) going out of his way to

ruin her reputation within the BPD. SOF, ¶¶ 55, 57, & 58.

       As a result of Hayes’ ongoing harassment, which was known to and endorsed by the BPD,

Gavin began therapy in July 2017, to help her manage the stress and anxiety of the hostile work

environment Hayes had created. SOF, ¶¶ 61. Gavin was prescribed medication in 2018 and

continues to be treated by a psychiatrist and therapist to address the adverse effect on her mental

health from Hayes’s retaliation and harassment. Id.

       On or about March 23, 2019, Gavin was transferred out of the FJC to the Academy, which

satisfied Hayes’s demand. SOF, ¶¶ 8, 16, 17, 21 & 62. The Academy is not part of the BIS and

Gavin is no longer permitted to perform any investigative work, including in her area of expertise.

SOF, ¶¶ 12, 16, & 17. Hayes’s second demand – that Gavin be stripped of her detective rating –

was thus effectively satisfied because Gavin no longer may participate in the work of the detectives

in BIS. SOF, ¶ 21. Gavin now works alone in a “silo,” and is primarily overseeing computerized

exams. SOF, ¶ 17. Both Gavin and her current commander, Supt. Winifred Cotter (“Cotter”) have

testified that Hayes’s retaliatory complaint “knocked her out of the box,” and caused her to be

transferred from the FJC to the Academy. SOF, ¶ 18. She no longer is able to apply her expertise



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  No one from the BPD ever countermanded Hayes’ directive, thus it was clear to Gavin’s
subordinates that they could circumvent her in the chain of command without consequence, which
they did.
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in fighting crimes against women and children, including human trafficking, which she had hoped

and expected to continue with more effect as a Deputy or Superintendent on the Command Staff.

Two other members of BPD’s command staff also testified that Gavin was transferred as a result

of the IA complaints. SOF, ¶ 18. Hayes, with the support of the BPD, killed her promising career

and professional aspirations.

                                        III.     ARGUMENT

        A. Summary Judgment Standard

        Summary judgment is a “disfavored remedy in civil rights cases” including cases involving

gender discrimination and retaliation. See Lavalley v. Quebecor World Book Services, LLC, 315

F. Supp. 2d 136, 139 (D. Mass. 2004). The Court must “view the record in the light most favorable

to the nonmoving party, and… draw all reasonable inferences in the nonmoving party’s favor.”

LeBlanc v. Great Am. Ins. Co., 6 F.3d 836, 841 (1st Cir. 1993).

        B. Gavin Has Presented More Than Enough Evidence That Hayes Retaliated To
           Defeat His Summary Judgment Motion

        Hayes moves for summary judgment as to Gavin’s retaliation claim against him (Count

Two) solely on the grounds that Gavin has not suffered an “adverse employment action.”7 See

Docket No. 111 at pp. 2-8. Hayes mischaracterizes the record and ignores the law, both of which

clearly demonstrate that Gavin’s transfer to the Academy was an adverse employment action. For

starters, it stripped her of all her investigative duties for which she had qualified; her totally altered

set of responsibilities required little to none of the training and qualifications she had obtained and

earned over a thirty year career; her duties are ill-defined and menial; and she has effectively no



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  Hayes concedes that there is a material dispute of fact regarding his motive of filing a complaint
against Gavin following her protected activity, and as the non-moving party, the Court must
conclude that he harbored the improper motive to retaliate against her.


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managerial role any more.8 Even putting aside the transfer to the Academy, the hostile work

environment that Hayes imposed on her after her complaints also constitutes an adverse

employment action and is sufficient to prove retaliation. Accordingly, Hayes’s motion for

summary judgment as to Gavin’s claim of retaliation in violation of M.G.L. c. 151B, § 4(4) fails.

          1. Retaliation Standard

          A prima facie case of retaliation is “a small showing that is not onerous and is easily made.”

Che v. Massachusetts Bay Transp. Authority, 342 F.3d 31, 38 (1st Cir. 2003) (quoting Kosereis v.

Rhode Island, 331 F.3d 207, 213 (1st Cir. 2003)). To prevail on a claim of retaliation, a plaintiff

must establish that: (1) she “reasonably and in good faith believed that the [defendant] was engaged

in wrongful discrimination”; (2) “acted reasonably in response to that belief… through reasonable

acts meant to protest or oppose discrimination”; (3) the defendant “took adverse action against the

employee”; and (4) the “adverse action was a response to the employee’s protected activity.”

Verdrager v. Mintz, Cohn, Ferris, Glovsky & Popeo, P.C., 474 Mass. 382, 406 (2016). Hayes’

Motion hinges nearly entirely on his argument that Gavin did not suffer an adverse employment

action.

          2. Gavin’s Transfer Was an Adverse Employment Action.

          “[R]etaliatory work assignments” are a classic and “widely recognized example of

forbidden retaliation.” See Burlington Northern and Santa Fe Ry. Co. v. White, 548 U.S. 53, 71

(2006) (internal quotations omitted). The Supreme Judicial Court has held that “an action taken by



8
  While Gavin was transferred to a position with predominantly clerical duties, Hayes was given
a more prestigious position at BPD headquarters and retained, if not enhanced, his supervisory
responsibilities within the Bureau of Investigative Services. SOF, ¶ 63. Furthermore, the BPD
actively assisted other male supervisors who were transferred out of the FJC – Lt. Det. Mark
Harrington and Sgt. Det. Miller – locate other positions. SOF, ¶ 64. Except for Gavin, they all
received favorable positions within Investigative Services.


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an employer is an ‘adverse employment action’ where it is ‘substantial enough to have materially

disadvantaged an employee.’” See Yee v. Massachusetts State Police, 481 Mass. 290, 296 (2019)

(quoting Psy-Ed Corp. v. Klein, 459 Mass. 697, 707-08 (2011). A “material disadvantage” for

purposes of an adverse employment action occurs “when objective aspects of the work

environment are affected.” See King v. City of Boston, 71 Mass. App. Ct. 460, 469 (2008). Courts

“examine whether an employee has suffered an ‘adverse employment action’ on a case by case

basis.” Yee, 481 Mass. at 297. “[A] plaintiff must show that a reasonable employee would have

found the challenged action materially adverse, which in this context means it well might have

dissuaded a reasonable worker from making or supporting a charge of discrimination.”9 Billings

v. Town of Grafton, 515 F.3d 39, 52 (1st Cir. 2008).

       The First Circuit has “squarely rejected the notion that a transfer cannot qualify as an

adverse employment action unless it results in a diminution in salary or a loss of benefit” and

instead holds that when “a transfer leaves an employee with significantly different responsibilities”

such a transfer may qualify as an adverse employment action. Caraballo-Caraballo v.

Correctional Administration, 892 F.3d 53, 61 (1st Cir. 2018); see also, Morales-Vallellanes v.

Potter, 605 F. 3d 27, 35 (1st Cir. 2010) (“[R]eassignment with significantly different

responsibilities” constitutes adverse employment action.).           Disadvantageous transfers or

assignments may qualify as adverse employment actions. See Valentín–Almeyda v. Municipality

of Aguadilla, 447 F.3d 85, 95 (1st Cir. 2006).




9
  Billings involved a claim of retaliation pursuant to Title VII. However, M.G.L. c. 151B’s “anti-
discrimination and anti-retaliation provisions are very similar to the counterparts contained in Title
VII, [and w]here such linguistic similarity exists, the SJC frequently looks to federal court
interpretations of Title VII for guidance.” See Noviello v. City of Boston, 398 F.3d 76, 91 (1st Cir.
2005). See also Yee, 481 Mass. at 298.
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         In Billings, the First Circuit determined that the plaintiff had put forth sufficient evidence

that would enable a jury to determine that his transfer was an adverse employment action, even

though his transfer did not involve a loss in title, pay, or benefits. 515 F.3d at 54. The First Circuit

reasoned that the transfer caused the plaintiff to occupy an “objectively less prestigious job, report[

] to a lower ranked supervisor, enjoy[ ] much less contact” with key supervisory personnel, and

required “less experience and fewer qualifications” and that such “reduced prestige” materially

impacted the plaintiff’s employment. See id. A transfer which involves a “disparity in duties”

when comparing the two posts may also be considered an adverse employment action. See Carlson

v. University of New England, 899 F.3d 36, 44 (1st Cir. 2018) (holding that a change in plaintiff’s

teaching assignments, her removal from the department website, and her removal as an advisor

would permit a jury to find the transfer to be an adverse employment action). Moreover, in the

context of sex discrimination and harassment, a transfer of a highly skilled employee to a position

involving menial work qualifies as an adverse employment action. See Burns v. Johnson, 829 F.3d

1, 10-11 (1st Cir. 2016). When a transfer renders an employee’s expertise useless, such a transfer

may also qualify as an adverse employment action. See Caraballo-Caraballo, 892 F.3d 53 at 61.10


10
    The cases cited by Hayes regarding an adverse employment action are easily distinguishable.
In Boutin v. Home Depot U.S.A., Inc., 490 F. Supp. 2d 98, 106 (D. Mass. 2007), the plaintiff could
not prove his underlying disability discrimination claim and could only point to personality
conflicts and nitpicking. In Wyse v. Summers, 100 F. Supp. 2d 69, 77 (D. Mass. 2000), an employee
claiming reverse discrimination had merely been counseled. In Bhatti v. Trustees of Boston
University, 659 F.3d 64, 70-73 (1st Cir. 2011), the court did not find a basis for the underlying
race discrimination claim and held that the retaliation claim failed as there were no consequences
to the criticism she received. In Lavalley v. Quebecor World Book Services LLC, 315 F. Supp. 2d
136, 139 & 148-49 (D. Mass. 2004), the plaintiff failed to submit a Rule 56.1 statement of disputed
facts and the plaintiff failed to show discriminatory intent to satisfy her retaliation claim. Here,
Hayes has acknowledged discriminatory intent. Finally, in O’Brien v. Robbins, 679 F. Supp. 2d,
212, 271, n. 7 (D. Mass. 2010), the court held in a claim of First Amendment retaliation that the
plaintiff failed to establish unconstitutional retaliation. Gavin brings claims of statutory retaliation
and discrimination, and Hayes concedes for purposes of summary judgment that he harbored
discriminatory animus.

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        Gavin’s transfer to the Academy materially disadvantaged her and thus qualifies as an

adverse employment action. As in Carlson, Burns, and Caraballo, Gavin’s transfer to the

Academy completely upended her responsibilities and rendered her detective and supervisory

skills meaningless. SOF, ¶¶ 16 & 18. Gavin did not want to be transferred to the Academy. An

officer without a detective rating could hold Gavin’s current position. SOF, ¶¶ 12 & 16. At the

FJC, Gavin oversaw two units of detectives and three Sgt. Dets. Id. In her current position, Gavin

oversees one civilian, is sidelined to a desk job, and primarily oversees computerized exams.11

SOF, ¶ 17. Gavin does not train detectives, and any training she has performed has been minimal.

Id. As a result of the transfer, Gavin is unable to be involved in CEASE. SOF, ¶ 16. Although a

recognized expert in human trafficking investigations and a skilled detective, Gavin is not

performing any detective work and is no longer investigating any human trafficking cases. Id.

Moreover, as a result of the transfer, Gavin was decommissioned as a Homeland Security Task

Force officer, lost the ability to attend the FBI Academy, and is unable to attend the annual 3-week

class offered by the Police Executive Research Forum. Id. Gavin is the only Lt. Det. in the BPD

without an assigned unmarked take home vehicle and had to purchase a car. Id. Gavin’s position

at the Academy is the definition of a dead-end job: it is without any purpose, a placeholder

designed to sideline Gavin and induce her to leave the BPD. It offers none of the meaningfulness

and prestige of commanding a specialized unit focused on protecting women and children.

       Gavin has also been economically harmed by the transfer and her reputation is in tatters.

SOF, ¶ 62. Officers who are considered “problem” employees are put “out to pasture”. Id.




11
  In her position at the Academy, Gavin does not command two sergeants, eighteen sworn officers
and multiple civilian employees (as inaccurately stated by Hayes, see Docket No. 111 at pg. 8);
rather, as Gavin’s current commander testified, these employees report to a different employee,
not Gavin. SOF, ¶ 17.
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Moreover, employees at BPD Headquarters scatter when they see her. See Exhibit D to the SOF,

at pp. 403-04 and Exhibit EE to the SOF. Her career has been derailed and her opportunities for

advancement within the BPD or with other agencies has been ruined. SOF, ¶ 62.

       Claims brought pursuant to M.G.L. c. 151B are to be allowed “liberally”, see Yee, 481

Mass. at 299, Gavin has presented substantial facts showing how the transfer detrimentally

impacted her position within the BPD. What happened to Gavin certainly might dissuade another

reasonable officer from making a complaint of discrimination at the BPD. See Billings v. Town of

Grafton, 515 F.3d at 52. Thus, Hayes’ contention that Gavin has not suffered an adverse

employment action must fail.

       3. Gavin Has Presented Sufficient Evidence To Show That Hayes Was Responsible
          For Gavin’s Transfer.

       The passage of time between Gavin’s initial complaints and her ultimate transfer does not

defeat her claim that Hayes was responsible for her adverse employment action. “[I]f the temporal

proximity is elongated, the plaintiff may rely on additional evidence. Evidence of discriminatory

or disparate treatment between the protected activity and the adverse employment action can be

sufficient to establish a causal connection.” See Che, 342 F.3d at 38 (holding that “[e]vidence of

discriminatory or disparate treatment in the time period between the protected activity and the

adverse employment action” can be sufficient to establish a causal connection and that the passage

of eleven months between filing a claim and a demotion did not preclude jury from finding such

causal connection). Indeed, in a similar instance, the Supreme Judicial Court found that summary

judgment was not appropriate where the plaintiff was demoted over two years after the protected

activity. See Verdrager, 474 Mass. at 407-08 (holding that a jury could infer that a “pattern of

retaliatory conduct [began] soon after [the protected activity] and only culminate[d] later” in an

adverse employment action); see also Bakhtiar v. Infineon Technologies Americas Corp., 2019

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WL 2479670 at *1, *7 (Mass. Super. May 29, 2019) (holding that the timespan between complaints

and termination did not “break” plaintiff’s case; it presents a question of fact as to whether

retaliation occurred at the first available opportunity and was improperly influenced by his

supervisor’s allegedly biased reviews and input); Travers v. Flight Services & Systems, Inc. 737

F.3d 144, 147 (1st Cir. 2013) (vacating summary judgment, reasoning that there existed a genuine

dispute as to whether the CEO’s desire to retaliate played into the decision to fire the employee

where “repeatedly voiced wishes of the king, so to speak, likely became well known to those

courtiers who might rid him of a bothersome underling”).

       Gavin has presented ample evidence that her transfer out of the FJC and the removal of her

detective duties was causally related to Hayes’s conduct. In addition to the pattern of retaliation

outlined in pp. 14-15, infra, Hayes lobbied multiple times to his superiors for Gavin to be

transferred out of the FJC. SOF, ¶¶ 13 & 52. He also recommended that Gavin be denied her

detective rating. Id. Three members of BPD’s command staff indicated that Gavin was transferred

entirely or at least in material part because of Hayes’s retaliatory complaint. Supt. Cotter attributes

Hayes’ retaliatory complaint for the reason why Gavin is no longer performing investigative work

related to human trafficking. SOF, ¶ 18. Supt. Long, the City’s 30(b)(6) representative, admitted

that Gavin was transferred out of the FJC because of the “toll” the environment was taking on her

and the continuing issues with Hayes. Id. Supt. Sharon Dottin also indicated that Hayes’s

complaint played a material role in Gavin’s transfer out of the FJC. Id. Hayes repeatedly demanded

that Gavin be transferred, and told colleagues that he “had her,” meaning he would ensure she was

sidelined and defeated. SOF, ¶¶ 52, & 55. He succeeded. This evidence is more than adequate to

defeat Hayes’ conclusory statement that he did not cause Gavin’s transfer to the Academy.

       4. The Hostile Work Environment Perpetuated By Hayes Is Also An Adverse
          Employment Action.

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       The hostile work environment Hayes subjected Gavin to as a result of her complaints

against him is itself actionable retaliation. Under both Title VII and M.G.L. c. 151B, “subjecting

an employee to a hostile work environment in retaliation for protected activity constitutes an

adverse employment action.” See Noviello, 398 F.3d at 91; see also Clifton v. Mass. Bay Transp.

Authority, 445 Mass. 611, 616-17 (2005) (“Although unlawful retaliation typically may involve a

discrete and identifiable adverse employment decision (e.g., a discharge or demotion), it may also

consist of a continuing pattern of behavior that is, by its insidious nature, linked to the very acts

that make up a claim of hostile work environment.”). When considering whether a retaliation-

based hostile work environment exists, the court considers “the relative ubiquity of the retaliatory

conduct, its severity, its natural tendency to humiliate… a reasonable person, and its capacity to

interfere with the plaintiff’s work performance.” Noviello, 398 F.3d at 93. “[W]ork sabotage,

exclusion, [and] denial of support” may contribute to the creation of a hostile work environment.

See O’Rourke v. City of Providence, 235 F.3d 713, 730 (1st Cir. 2001). Moreover, evidence that

hostile activities created physical and psychological problems that require professional treatment

highlights the negative effect on her work performance. See Noviello, 398 F.3d at 94. “A

supervisor can be liable for a retaliatory hostile work environment if, among other things, the

alleged harassment was severe or pervasive.” See Marrero v. Goya of P.R., Inc., 304 F.3d 7, 26

(1st Cir.2002).

       Following Gavin’s initial complaint of discrimination in March 2017, Hayes took multiple

steps to ensure that her work environment was unbearable. Hayes openly taunted Gavin and

criticized her before her subordinates in email. SOF, ¶ 44. Hayes began secretly entering her

office and removing files so that he could conduct a secret audit on the HTU, despite having

previously informed her that the HTU was doing well. SOF, ¶¶ 45 & 49. Hayes undermined

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Gavin by telling her subordinate, Sgt. Det. Doris, about the secret audit, sowing division and

distrust. SOF, ¶ 45. When Gavin asked her if she knew about the missing files, she told Gavin

she did not. Though she claimed to have forgotten, see Exhibit Y to the SOF, the reasonable

inference is that she had to lie to Gavin to keep Hayes’ secret. Hayes acted similarly in concealing

a human trafficking sting operation from Gavin that involved her detectives, while informing Sgt.

Det. Doris who testified that she felt uncomfortable and did not want to be put in that situation

again. SOF, ¶ 48.

       Hayes also directed Gavin’s subordinate Sgt. Det. Lembo to write a report criticizing her

two months after the alleged incident had occurred. SOF, ¶ 50. Hayes also handed Gavin a 17-

page criticism of the HTU.12 SOF, ¶ 49. In October 2017, Hayes prompted Sgt. Det. Doris to

write a Form 26 report against Gavin, and then, unbeknownst to Sgt. Det. Doris, filed the complaint

with the assistance of then Deputy Superintendent Marcus Eddings (“Eddings”). SOF, ¶ 55. Hayes

encouraged and allowed Gavin’s subordinates to avoid the chain of command, report directly to

him, and froze Gavin out of BPD operations involving her subordinates. SOF, ¶¶ 54 & 55. Hayes

also removed Gavin from emails in which her subordinates were copied. SOF, ¶ 55. Hayes

continued his hostile posture toward Gavin in 2018, including in email to Supt. Paul Donovan (the

Commander of BIS) criticizing Gavin and, in October 2018, Hayes and Deputy Supt. Eddings

conspired to conceal a second human trafficking sting operation from Gavin that involved her

subordinates. SOF, ¶ 55.




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    Contrary to Hayes’s argument, his 17-page criticism supports the retaliation claim. The secret
audit on which it was based began in April after Gavin complained of discrimination to Hayes and
the police. And, it was part of a campaign waged against Gavin to undermine her, unfairly criticize
her and drive her out of the FJC. Following Hayes’s IA complaint against Gavin, members of IA,
including Supt. Mancini, stormed HTU and removed files.
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       As a result of the hostile environment, Gavin required professional therapy and ultimately

medication. Gavin also suffered from rashes, ground her teeth at night, refrained from her social

activities, gained weight, had a panic attack, and had difficulty sleeping. SOF, ¶ 61. The hostile

environment impeded Gavin’s work performance and given her extreme distress, caused her to use

more sick time. Id. She also was unable to work overtime, something that she had regularly done

before. Id.

       Gavin has more than sufficient evidence of the hostile environment Hayes created to defeat

summary judgment.

       C. Hayes Has Failed To Oppose Gavin’s Claim That He Discriminated Against Her
          And Caused Her Material Harm In Violation Of M.G.L. c. 151B, §4(4A).

       Hayes improperly characterizes Count Three of the Complaint – Interference with the

Right to be Free from Discrimination in violation of M.G.L. c. 151B, § 4[4A] – as merely another

recast retaliation claim. Gavin’s claim properly encompasses both claims that Hayes discriminated

and retaliated against her. As Hayes has not moved for summary judgment on the claim against

him for discrimination, that claim survives.

       In Lopez v. Commonwealth, the Supreme Judicial Court specifically rejected Hayes’s

contention that M.G.L. c. 151 B § 4(4A) is solely a retaliation claim. See Lopez v. Com., 463

Mass. 696, 707 (2012). The Supreme Judicial Court stated that:

       The language of the statute does not support the division’s claim that § 4(4A)
       provides protection only against retaliation. Section 4(4A) has two clauses, only
       one of which (the second) provides protection against retaliation. The second clause
       provides that it is an unlawful practice “[f]or any person ... to coerce, intimidate,
       threaten or interfere with [another] person for having aided or encouraged any other
       person in the exercise or enjoyment of any ... right granted or protected by [c.
       151B].” G.L. c. 151B, § 4(4A). The first clause of § 4(4A) prohibits “interfere[nce]
       with ... the exercise or enjoyment of any right granted or protected by this chapter.”
       Among the rights protected by G.L. c. 151B is the right to be free from
       discrimination in the terms, conditions, and privileges of employment, which



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       includes the right to equal opportunities for promotion without discrimination on
       the basis of race, color, or national origin.

See id. Hayes misleadingly cites to Pontremoli v. Spaulding Rehab. Hosp., 51 Mass. App. Ct.

622, 625 (2001), to imply that M.G.L. c. 151B, § 4(4A) is solely a “retaliation claim.” But the

Supreme Judicial Court, addressing Pontremeli, held that “notwithstanding the fact that retaliation

may also constitute interference under the second clause of § 4(4A), retaliation is not required to

establish a claim of interference under the first clause of § 4(4A).” See Lopez, 463 Mass. at 708.

       The evidence discussed in section B supra and recited more fully in the accompanying

Response to Hayes’s Statement of Facts demonstrates the validity of Gavin’s discrimination claim

against Hayes.13 Hayes treated her differently from the male Lt. Dets. under his supervision at the

FJC, in a manner that was discriminatory and adverse. There are so many examples, but in essence

he undermined her authority at every turn and, without basis, lobbied to have her removed from

the FJC and even the police force and to strip her of her right to work as a detective. By way of

example only, he failed to provide her a comparable private office to the other male Lt. Dets. at

the FJC, and falsely told her it was cost prohibitive. SOF, ¶¶ 33 & 34. Ultimately, after she

complained of discrimination, the office was constructed in two weekends. See SOF, ¶ 35. The

denial of a private office that was important to her performance and her leadership status was

discriminatory. SOF, ¶ 41. He forced personnel changes on Gavin’s unit that she did not want

and were unnecessary; he deferred to his male Lt. Dets. on similar personnel matters. See SOF,

¶¶ 36, 45.

       He micromanaged the operations of the HTU, which included lengthy (and critical) emails

to her on which he copied her entire unit and certain members of the Command Staff. SOF, ¶¶



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   Gavin reserves the right to amend the complaint to conform to the evidence and to add an
additional claim of discrimination against Hayes for violation of M.G.L. ch. 151B, § 4(1).
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33 & 40. In one such email, he copied Commissioner William Evans who commented privately

to Supt. Long: “Wish mark [Hayes] did not do this. Y email. It looks terrible and creates a paper

trail.”14 SOF, ¶ 40. He even ran the case reviews for Gavin’s units. SOF, ¶ 36. He did not

micromanage the operations of SAU or DVU which were run by his male Lt. Dets.; he did not

even participate in their case reviews. SOF, ¶¶ 36 & 57. He secretly audited Gavin’s files. SOF,

¶ 45 He kept an unlawful, private personnel log on Gavin, which he even shared with her male

colleagues at the FJC, including her subordinate, Sgt. Det. Miller. SOF, ¶¶ 8, 21, 37. He never

kept a log on his male Lt. Dets. (or anyone else at the FJC). SOF, ¶ 41.

       He conspired with her subordinates, including Sgt. Det. Miller and Sgt. Det. Doris, to

undermine her position and authority and to keep operations involving her units secret from her –

something that also jeopardized the safety of officers. SOF, ¶¶ 36, 45, & 48. He purposefully

violated BPD Rule 114 by broadcasting that Gavin had lodged a complaint against him and openly

informed her subordinates that they could report directly to him, which undermined her authority

and caused her harm throughout the BPD as word spread that she had complained against a

colleague – a violation of the BPD’s code of silence. SOF, ¶¶ 54 & 60. Hayes also spread the

word that he was going to “get her” and that “he had her.” SOF, ¶ 55. Hayes’s actions were

calculated precisely to intimidate and undermine her, and with the support of the Command Staff

and others, he succeeded. Summary judgment should not be granted to Hayes as to Count Three.

       D. Hayes Cannot Prevail On The Aiding And Abetting Claim.

       Given that Gavin’s discrimination claims against the City are proceeding to trial, it is

premature for Hayes to argue that Gavin cannot sustain her aiding and abetting claim (Count Four)




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   This evidences the BPD’s attempts to conceal the mistreatment of Gavin, which was enabled
by the Command Staff and others.
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against him. “[A]n aiding and abetting claim under § 4(5) requires the defendant to act in concert

with one or more specific employers to ‘aid’ or ‘abet’ a primary and independent act of

discrimination by those employers.” Lopez, 463 Mass. at 714, n.23. Gavin has more than

sufficient evidence that Hayes acted in concert with the City to discriminate against Gavin.

       The parties agree the standard set forth in Lopez is the correct one for a violation of G.L.

c. 151, § 4(5). Hayes makes two arguments to defeat this claim. First, Hayes again incorrectly

argues that Gavin’s claim against him is solely for retaliation and that the aiding and abetting claim

fails, because Gavin has not demonstrated an adverse employment action. In fact, Gavin’s aiding

and abetting claim is derivative of her discrimination claim against the City, and Gavin has

demonstrated adverse employment action against her, as discussed previously.

       Second, Hayes puzzlingly appears to argue that Gavin has not shown that he possessed the

required wrongful intent. See Docket No. 111 at pp. 10-11. But Hayes expressly concedes that he

possessed the requisite wrongful intent for purposes of his summary judgment motion. See id., at

pp. 3. In any event, there is more than enough evidence to demonstrate Hayes acted in concert

with the City to discriminate against Gavin, as discussed supra in Section C.

       When Hayes failed to arrange for Gavin to have a private office, Supt. Long and the BPD

failed to resolve the problem for nearly 1 ½ years after her promotion to Lieutenant. SOF, ¶ 35.

When Hayes forced an unnecessary personnel change on Gavin, Supt. Long and the BPD

supported him. SOF, ¶ 45. When Hayes continued to broadcast that Gavin caused a delay in the

transfers and accused her of dishonesty in denying it, Supt. Long and the BPD did not intervene to

stop him even though they knew his understanding of the delay was wrong.

       As early as November 5, 2016, former Boston Police Commissioner William Evans

(“Evans”) and Supt. Long were aware that Hayes was inappropriately sending “terrible” emails to


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Gavin and copying her subordinates which created a “paper trail” evidencing discrimination

against her. SOF, ¶ 40. Yet neither Commissioner Evans nor Supt. Long corrected his behavior.

When Hayes violated Rule 114 in broadcasting Gavin’s complaint against him to others in the

FJC, Supt. Long, who was copied, and the BPD did nothing to discipline Hayes.

       Despite her complaints about Hayes’s hostility and discrimination, Hayes was permitted to

continue to run case reviews for Gavin and she was required by Deputy Supt. Marcus Eddings to

continue to attend them, which was very uncomfortable for her. SOF, ¶ 57. Hayes submitted an

IA complaint against Gavin on behalf of her subordinate, Sgt. Det. Doris, even though she did not

direct him to do so, and Deputy Eddings assisted in that filing.15 SOF, ¶ 55.

       Supt. Mancini participated with Hayes (and Lt. Det. Juliano) in storming the HTU and

removing files, causing alarm to HTU personnel. SOF, ¶ 8 & 21. When Gavin attempted to

approach Supt, Mancini to discuss Hayes’s retaliatory conduct, he refused to speak with her, even

though he had promised her there would be action against Hayes if he retaliated. SOF, ¶¶ 47 &

56. The City ultimately relegated her to the Academy while protecting Hayes with a more

favorable Capt. Det. position at Headquarters. SOF, ¶ 63. Hayes acted in concert with the BPD

by repeatedly demanding her punitive transfer.

       Shortly after that transfer, Deputy Supt. Sharon Dottin found that Sgt. Dets. Miller and

Lembo had treated her disrespectfully (something Gavin had experienced repeatedly herself) and

Lt. Det. Harrington was also implicated; the three of them were transferred out of the FJC

simultaneously. SOF, ¶ 64. Subsequently, Supt. Paul Donovan reached out to Lt. Det. Harrington




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  Due to the hostile atmosphere that the BPD and Hayes cultivated and permitted, rank and file
member of the BPD were emboldened to attack Gavin as well. Sgt. Det. Miller went so far as to
threateningly tell another HTU detective that Gavin should “shut the f--- up.” SOF, ¶ 59.

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to offer him open Lt. Det. positions in the BIS, yet never reached out to Gavin to offer those or

other similar positions. Id.

        When a supervisor acts with wrongful discriminatory intent (which Hayes has conceded)

and the employer fails to act and enables problematic behavior to continue (as the BPD allowed),

a claim lies for aiding and abetting. See Semmami v. UG2 LLC, 2019 WL 2249705, *1 *8 (D.

Mass. May 24, 2019). The main wrongful actor (Hayes) may also be liable for aiding and abetting

where there is evidence of “distinct” acts supporting the discrimination claim against him and the

employer. See Ping Zhao v. Bay Path College, 982 F. Supp. 2d 104, 115-16 (D. Mass. 2013). It

is sufficient that Hayes made false and discriminatory complaints against Gavin to sustain her

aiding and abetting claim. See id. (interference in investigation sufficient). Any evidence of joint

discriminatory activity “that plausibly, if not necessarily, require multiple participants,” including

“rumor-spreading,”   is sufficient to state a claim for aiding and abetting in violation of M.G.L. c.

151B, § 4(5). See Fisher v. Town of Orange, 885 F. Supp. 2d 468, 477 (D. Mass. 2012).16 The

City and Hayes acted in concert to discriminate and retaliate against Gavin both in terms of their

actions and the City’s failure to stop those discriminatory and harassing actions against her.

Accordingly, Hayes’ motion to dismiss Gavin’s aiding and abetting claim fails.

                                          CONCLUSION

       For the reasons set forth herein, the Court should deny Hayes’s Motion for Summary

Judgment in its entirety.




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    Hayes’s reliance on Furtado v. Standard Parking Corp., for the proposition that “plaintiff’s
aiding and abetting claims fails where underlying retaliation claim is unsubstantiated” is flawed.
Docket No. 111, pg. 10. In Furtado, the disability discrimination claim failed and the aiding and
abetting charge failed as the plaintiff did not produce evidence of intent or knowledge, not, as
Hayes posits, because the retaliation claim failed. See 820 F. Supp.2d 261, 279 (D. Mass. 2011).
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                                                     Respectfully submitted,

                                                     DONNA GAVIN


                                                     By her attorneys,


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                                                     Date: February 24, 2021



                                CERTIFICATE OF SERVICE

       I, Nicholas B. Carter, Esq., hereby certify that the foregoing document was filed through
the ECF system and will therefore be sent electronically to all counsel of record as identified on
the Notice of Electronic Filing (NEF).

                                             /s/ Nicholas B. Carter_____________




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